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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                 DAVENPORT DIVISION


BUSINESS LEADERS IN CHRIST,                      )
an unincorporated association,                   )    Case No. 3:17-cv-00080-SMR-SBJ
                                                 )
         Plaintiff,                              )
                                                 )
         v.                                      )
                                                 )
THE UNIVERSITY OF IOWA; LYN                      )    ORDER ON PLAINTIFF’S RENEWED
REDINGTON, in her official capacity as Dean )         MOTION FOR PRELIMINARY
of Students and in her individual capacity;      )    INJUNCTION
THOMAS BAKER, in his official capacity as )
Assistant Dean of Students and in his individual )
capacity; and WILLIAM NELSON, in his             )
official capacity as Executive Director, Iowa    )
Memorial Union, and in his individual capacity, )
                                                 )
         Defendants.                             )


        Plaintiff Business Leaders in Christ (“BLinC”) seeks an Order granting its Renewed

Motion for Preliminary Injunction.     [ECF No. 51-1]. On January 23, 2018, the Court granted

BlinC a ninety-day preliminary injunction ordering Defendants University of Iowa, Lyn

Redington, Thomas Baker, and William Nelson to restore BLinC to registered student organization

status. [ECF No. 36 at 31]. The parties jointly agreed to extend the injunction through June 30,

2018.   [ECF No. 46]. In anticipation of its expiration, BLinC asks the Court to renew the

preliminary injunction, thereby enjoining Defendants from interfering with BLinC’s registered

student organization status during the pendency of this litigation.    The Court held a hearing on

BlinC’s original request for a preliminary injunction on January 18, 2018. BLinC requested oral

argument on its renewed motion; however, the Court finds that in light of the previous hearing and

the filings of the parties, the motion can be decided appropriately without it.
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       The Court reiterates that “[f]acts and conclusions determined by a court in granting or

denying a preliminary injunction are provisional and nonbinding.” [ECF No. 36 at 1–2] (citing

Henderson v. Bodine Aluminum, Inc., 70 F.3d 958, 962 (8th Cir. 1995) (per curiam); Sak v. City

of Aurelia, Iowa, 832 F. Supp. 2d 1026, 1031 (N.D. Iowa 2011)).

       After careful consideration of its prior Order, the parties’ submissions on this motion, and

relevant caselaw, the Court finds that the preliminary injunction should remain in place. In its

previous decision, the Court noted that the record contained evidence that another registered

student organization had been allowed to operate on campus with membership requirements

violative of the University’s Human Rights Policy. Id. at 28. Without more information, the Court

had to conclude that it was possible that the differing views of the student organizations could

account for the differential treatment. The University has now provided data from its ongoing

efforts to review its administration of its Human Rights Policy. It appears a large number of

student organizations were operating in violation of the University’s stated policies at the time the

University revoked BLinC’s registered student organization status. [ECF No. 52-1 at 3]. The

University does not reconcile that fact with how the proceedings against BLinC were carried out.

Presently, too much remains unknown about what role BLinC’s viewpoint played, if any, in the

decision to deregister the group. The Court determines that the preliminary injunction it previously

imposed should remain in force throughout this action for the reasons stated both here and in the

Court’s Order on Plaintiff’s Motion for Preliminary Injunction, [ECF No. 36].

       The Court would also like to take this opportunity to remind and direct the parties to follow

the Local Rules with respect to all future submissions.      BLinC filed its motion after a court-

imposed deadline without showing cause. BLinC also failed to deliver a paper copy of its motion

and supporting filings—which together totaled more than 700 pages—with the Clerk of Court

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despite previously being advised of that requirement for filings totaling more than 100 pages. See

LR 5A(g)(8). Similarly, the Court declines to address Defendants’ motion to strike, which was

raised in a footnote of their response. See LR 7(e). The parties are advised that future violations

of this type may result in their filings being struck.

       For the foregoing reasons, Plaintiff BLinC’s Renewed Motion for Preliminary Injunction

is GRANTED. The Court orders Defendants to maintain BLinC’s registered student organization

status until the Court renders a judgment in this litigation.     The Court waives the security

requirement in Federal Rule of Civil Procedure 65(c).

       IT IS SO ORDERED.

       Dated this 28th day of June, 2018.

                                                         _______________________________
                                                         STEPHANIE M. ROSE, JUDGE
                                                         UNITED STATES DISTRICT COURT




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